Case 4:04-cv-04200-LLP Document 374 Filed 10/10/12 Page 1 of 5 PageID #: 9833

                                                                               FILED
                              UNITED STATES DISTRICT COURT                     OCT f 0 2012

                                 DISTRICT OF SOUTH DAKOTA

                                      SOUTHERN DIVISION
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DONALD E. MOELLER,                             *               CIV. 04-4200
                                               *
                Plaintiff,                     *       MEMORANDUM OPINION AND
                                               *       ORDER RE: RULE 41(a)(1)(A)(ii)
        -vs­                                   *           STIPULATION
                                               *
DOUGLAS WEBER, Warden,                         *
South Dakota State Penitentiary,               *
DENNIS KAEMINGK, Secretary of                  *
the South Dakota Department of                 *
Corrections in his official capacity,          *
and DOES 1-20. unknown employees or            *
agents of the South Dakota Department          *
of Corrections,                                *
                                               *
               Defendants.                     *
                                               *
                                               *
******************************************************************************
       On October 2,2012. counsel for Defendants and Attorney Mark F. Marshall filed a stipulation
for dismissal of this 1983 civil rights action pursuant to Fed. R. Evid. 41 (a)( 1)(A)(ii). Doc. 353.
Attorney Mark F. Marshall has represented Moeller in state court and represented Moeller at the time
this federal action was commenced. The Court denied a motion from appointed counsel for Moeller
from the office of the Arkansas Federal Public Defenders (appointed counsel) seeking an order
striking the Notice ofAppearance filed by Mark Marshall and directing the clerk not to accept further
filings from Mr. Marshall in this matter. Doc. 358. Appointed counsel for Moeller has filed a number
of motions to strike or vacate the stipulation for dismissal. Doc. 354, 355, 357. Appointed counsel
for Moeller has also filed an emergency motion for appointment of next friend or guardian ad litem
in this action. Doc. 36 L The Court held a hearing on October 4,2012. at which Moeller was present.
and the Court questioned Moeller regarding his positions and the reasoning behind his positions on
his representation and the dismissal or his 1983 civil rights action.
Case 4:04-cv-04200-LLP Document 374 Filed 10/10/12 Page 2 of 5 PageID #: 9834




        After the October 4, 2012 hearing, Moeller wrote this Court and stated, "I am writing you

so that my intention is unmistakable. I do not want to be represented by the Arkansas Federal Public

Defender. I ask that you terminated (sic) their representation of me immediately." Doc. 369.

Appointed counsel for Moeller also submitted additional affidavits in support of their position

opposing the stipulation for dismissal and supporting the appointment ofa guardian ad litem to act

on Moeller's behalf in this action. Appointed counsel has also tiled a response to Moeller's recent

letter to the Court. The Court has now carefully considered all of the pleadings, supporting

documents, testimony and arguments concerning the stipulation for dismissal.

Stipulation/or Dismissal Under Fed. R. Evid. 4I(a)(I)(A)(ii)
       A plaintiffs right to dismiss by stipulation pursuant to Fed. R. Evid. 41(a)(l)(A)(ii) is

normally both absolute and unconditionaL See 8 JAMES WM. MOORE ET AL., MOORE'S FEDERAL

PRACTICE ~J 41.31 (3d ed. 2012). A voluntary stipulation under Fed. R. Evid. 41(a)(I)(A)(ii),
therefore does not ordinarily require court approval. Courts, however, have relied upon their inherent

power to look behind a stipulation to dismiss to determine whether there has been improper conduct

which gave rise to the stipulation and to make certain that the stipulation of dismissal was voluntary.
See, e.g., United States v. Mercedes-Benz o/North America. Inc., 547 F.Supp. 399,400 (O.c. Cal.
1982). Given the gravity of the consequences ora dismissal in this action, the disagreement between

appointed counsel and Attorney Mark Marshall on whether the stipulation to dismiss should have
been ti led, and the allegations challenging Moeller's competency. the Court determined that it had

the right and duty to look behind the stipulation and determine whether the stipulation was

competent voluntary and intelligent from Moeller's perspective.

Voluntary and Intelligent Dismis.';cll olCivil Rights Acfion on Constitutionality alLethalinjection
Protocol
       The cases which have been called to the Court's attention concerning a competent waiver by

a death-row inmate of his federal action have all dealt with habeas corpus petitions filed pursuant

to 28 USc. § 2254. While those cases are instructive, the Court is not aware of authority deeming
those cases controlling in an action such as the one presented here where Moeller was challenging
the method of execution in a 1983 civil rights action. In determining the validity of a waiver of a
death-row inmate's action under 28 usc. § 2254, a court must evaluate the inmate's competency
because a waiver would bar further federal court review as to the validity ofthe inmate's conviction.

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Case 4:04-cv-04200-LLP Document 374 Filed 10/10/12 Page 3 of 5 PageID #: 9835




Moeller, however, has already unsuccessfully appealed from this Court's denial ofhis habeas corpus
petition under 28 U.S.c. § 2254, and Moeller's petition for writ of certiorari has been denied. See
IHoeller v. Weber, 649 F.3d 839 (8th Cir. 20 II ). cerl. denied. 132 S.Ct. 2735 (June 4,20 12). Moeller
has received full federal review concerning the validity of his conviction.
        In Rees v. Peyton. 384 U.S. 312,314 (1966), the Supreme Court held the where a death-row
inmate had directed his counsel to withdraw his petition for certiorari to Supreme Court to review a
court ofappeals decision rejecting his claim, the district court in which the habeas corpus proceeding
had been commenced should determine whether the inmate had the capacity to appreciate his position
and make a rational choice with respect to continuing or abandoning further litigation, or whether the
inmate was suffering from a mental disease, disorder or defect which might substantially affect that
capacity. See also Smith v. ArmonlroU{, 812 F .2d 1050, 1056 (8th Cir.1987). In Nooner v. Norris, 402
F.3d 801,804 (8th Cir. 2005), the Eighth Circuit explained that in reviewing a district court's factual
finding that a death-row inmate was competent to withdraw his habeas petition, the "inquiry is
two-fold. First, we examine whether the defendant has the rational ability to understand the
proceedings. [citations omitted] Second, \ve consider whether the defendant's waiver was knowing
and voluntary, i.e .. whether the defendant actually understood the significance and consequences of
his waiver and whether the waiver was uncoerced."
       The Court finds that Moeller has the capacity to appreciate his position and make a rational
choice with respect to continuing his 1983 civil rights action. During the Court's extensive
questioning of Moeller, he was at all times articulate and coherent with regard to the nature of his
civil rights action and the consequences of abandoning the action. Furthermore. Moeller admitted
kidnapping, raping and murdering Rebecca O'ConnelL and expressed his belief that he had done an
evil thing in raping and killing "that little girL" and that he had to pay for his actions. Moeller
explained. "If the rape and murder of Rebecca O'Connell does not deserve the death penalty, then I

guess nothing does."
       Moeller was also able to explain in general terms hm\' he would be executed by lethal
injection and explain in specific terms when the execution was scheduled to take place. Moeller also
testified that he was aware of appointed counsel's claims that the implementation of the protocol
would not go smoothly and would subject Moeller to more than a little pain.
Case 4:04-cv-04200-LLP Document 374 Filed 10/10/12 Page 4 of 5 PageID #: 9836




        The record contains information that Moeller had suffered from a traumatic childhood which
most likely led to depression and anxiety. The record also contains information that Moeller has in
the past been diagnosed with a schizotypal personality disorder and a personality disorder with
schizotypal traits. However, Moeller is not under the care of a psychologist or psychiatrist, nor is he
taking any medication for mental illness. Moeller also testified that his appointed counsel had him
evaluated by a psychiatrist in August of20 11 and that Moeller was not found to be insane. This Court
finds that even if Moeller suffers from a mental disease, disorder or defect, the mental disease,
disorder or defect did not substantially affect his capacity to make a competent decision to dismiss
this 1983 civil rights action. Moeller fully comprehends the consequences ofthe stipulation to dismiss
this action and is adamant that the stipulation to dismiss be upheld.
        Appointed counsel has submitted materials concerning the solitary and isolated conditions of
Moeller's long confinement and made argument that the conditions of Moeller's confinement have
rendered his decision to dismiss this action involuntary. Moeller, however, described his routine on
death row and demonstrated that in spite of the isolation he has made a sane life in his "house:' by
cleaning, reading. writing. listening to the radio. and watching television programs and movies. The
Court finds that the conditions of Moeller's confinement do not render his decision to dismiss this
action involuntary.
       The Court finds that Moeller's decision to dismiss this action was uncoerced. Although
Attorney Marshall prepared and signed the stipulation of dismissal. this action was taken at Moeller's
direction. Both Moeller and Attorney Marshall testifIed that Marshall does not personally agree with
the decision and does not want to see Moeller executed. Moeller also testifIed that his desire to
abandon this lawsuit has existed from before the time counsel from Arkansas was appointed on his
case, but that he did not act on the desire at that time because his stepmother was ill and he did not
want ro '"add any crap on her.'·
       This Court appreciates appointed counsel's position that "[ ulnder the American Bar
Association's Model Rule ofProfessional Conduct 1.14 and South Dakota's Ethics Rule 1.14 ('Client
with Diminished Capacity' ),fappointed counsell is obligated to take reasonable. protective measures
on a client's behalf if counsel reasonably believes the client has 'diminished capacity' and 'is at risk
of substantial physical, financial or other harm.'" Doc. 371. However, Rule of Professional Conduct


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Case 4:04-cv-04200-LLP Document 374 Filed 10/10/12 Page 5 of 5 PageID #: 9837




1.2 provides "a lawyer shall abide by a client's decisions concerning the objectives ofrepresentation."
Since May of this year Moeller has atte'mpted to fire appointed counsel. Moeller claims. "They are
only working for their own agenda. I do not believe they are working for me." At the time the
stipulation tor dismissal was entered into, Attorney Marshall was the only counsel operating as
counsel for Moeller in that he was abiding by Moeller's will in acting to end this litigation. I In
consideration of Moeller's competent and uncoerced decision to terminate this litigation and the
deterioration of the relationship between Moeller and appointed counsel, the Court is terminating the
appointment of the Arkansas Federal Public Defender as counsel for Moeller.
       In conclusion, the Court finds that Moeller was and is competent to stipulate to dismiss this
1983 civil rights litigation concerning South Dakota's death penalty protocol and that his decision to
enter into that stipulation was voluntary and intelligent. Accordingly,


       IT IS HEREBY ORDERED:
       1. That all motions to strike or vacate the stipulation for dismissal (Doc. 354.355,357) are
       denied:.
       2. That the emergency motion for appointment of next friend or guardian ad litem in this
       action (Doc. 361) is denied;
       3. That the appointment of the Arkansas Federal Public Defender as counsel for Moeller is
       terminated; and
       4. That the Stipulation for Dismissal shall operate as contemplated under Fed. R. Evid.
       41 (a)( 1)(A)(ii).
                                tl
       Dated this             ~ day of October. 2012.
                                                   BY THE COURT:

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                                                 ,Jtawrence L. PIersol
ATTEST:                                             United States District Judge
JOSE~L\A.~. qJERK
BY:        ~~ ,   .~-------           ---~




                  DEPUTY


        lAs \vas observed by the Supreme Court of Kentucky. "Adhering to a deCendant's choice
to seek the death penalty honors the last vestiges of personal dignity available to such a
detendant"Chapman v. Comf1wn"wwlth. 265 S. W.3d 156. 175-176 (Ky.2007).


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